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 5                            UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF NEVADA
 7                                                   ***

 8   UNITED STATES OF AMERICA,           )
                                         )                 Case No: 2:05-cr-0100-RLH-LRL
 9                     Plaintiff,        )                          2:06-cr-0002-RCJ-GWF
                                         )
10         vs.                           )                        ORDER
                                         )                 (Motion for Self-Surrender at
11   NELSON OSEMWENGIE,                  )                  Terminal Island–#319)
                                         )
12                     Defendant.        )
     ____________________________________)
13

14                  Before the Court is Defendant Nelson Osemwengie’s Motion for Judicial Recom-

15   mendation for Self-Surrender at the Federal Correctional Institution in Terminal Island

16   (#319, filed August 10, 2010).

17                  The Motion must be denied. The Court has already made a recommendation that

18   Nelson Osemwengie be permitted to serve his time at Terminal Island. But it can only make a

19   recommendation to the Bureau of Prisons (BOP). The BOP has the ultimate and total authority to

20   determine where he will serve. Defendant represents that a designation has not been made.

21                  The Court also permitted Defendant Osemwengie to self-surrender (the date for the

22   self-surrender being August 13, 2010). What Defendant appears to be trying to get the Court to do

23   is to order that he self-surrender at Terminal Island, thus forcing the BOP’s hand by the Court

24   ordering him to surrender at Terminal Island. That the Court cannot and will not do.

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 1                IT IS THEREFORE ORDERED that Defendant Nelson Osemwengie’s Motion for

 2   Judicial Recommendation for Self-Surrender at the Federal Correctional Institution in

 3   Terminal Island (#319) is DENIED.

 4                Dated: August 11, 2010.

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 6                                                    ____________________________________
                                                      Roger L. Hunt
 7                                                    Chief United States District Judge

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